                                                                             JAN 17 2019

                  IN TH E UN ITED STATE S D IST RICT CO U RT
                  FO R TH E W E STERN D ISTRICT O F W R GIN IA
                              DAN W LLE D IW SIO N



 UN IT ED STATE S O F AM R RICA
                                            Case N o.4.
                                                      'Iç1nJ'
                                                        (

 V.                                         IN D ICTM E N T

 CH Y ST O PH ER T O D D D AW S            In violation of:
                                           18U.S.C.j 922(g)(1)
                                           ZIU.S.C.jj 841(a)(1),(b)(1)(C)
                                           18 U .S:C.j 924(c)
                                                  ,




                                    COU N T O N E

       TheGzandlurychatgesthat:
       1. On otaboutluly 13,2018,in theW esternludicialDistrictofVitginia,the
defendant,CHRISTOPHER TODD DAVIS,havingbeenpreviousiyconvictedofactime
punishableby im prisonm entfora term exceeding oneyeat,did ktlowingly possessa flteatm ,

to witaG lock,m odel19,9mm pistol,which previously had been sllipped and ttansported in

inteêstate O1:foreign com m erce.

       2. Allitlviolaéon ofTitle18,United StatesCode,j922(g)(1).


                                    CO U N T TW O

       TheGrandJN ftutherchargesthat:
       1. On ozaboutluly13,2018,in theW esternludicialDistdctofVirginia,the




    Case 4:19-cr-00002-JLK Document 1 Filed 01/17/19 Page 1 of 4 Pageid#: 9
defendant,CHRISTOPH ER TO D D D AVIS,knowingly and itltentionally possessed w1t.11

itztentto disttibute am easurablequanéty ofam ixture and substance containing a detectable

amountofheroin,aScheduleIconttolled substance.

          A11invioladonofTitle21,UnitedStatesCode,jj841(a)(1)and$)(1)(C).


                                   CO U N T T H REE

      TheGrandluryfartherchargesthat:
          Onoraboutluly 13,2018,in theW esternludicialDistdctofVirginia,the
defendant,CH RISTO PHER TOD D D AVIS,knowingly and intentionally possessed with

intentto disttibute am easurable quanéty ofam ixtuteand substance contlining a detectable

am otmtofcocaine,a Schedule11conttolled substance.

          Allinviolaéon ofTitle21,UnitedStatesCode,jj841(a)(1)and$)(1)(C).


                                    COU N T FO U R

      TheGrandluryfartherclfatgesthat:
          Onoraboutllzly 13,2018,itltheW esternludicialDistrictofVitginia,the
defendant,CHRISTO PH ER TOD D D AVIS,did knowingly possessa firentvn,to wita

G lock,m odel19,9m m pistol,in furthetance ofaHtn'g ttafficking ctim eforwhich hem ay be

pfosecuted in acouztofthe United States,assetforth irzCountsTw o and Three oftlzis

Indictm ent.

          AllirlviolationofTitl/18,UnitedStatesCode,Sectbn924(c).




   Case 4:19-cr-00002-JLK Document 1 Filed 01/17/19 Page 2 of 4 Pageid#: 10
                             N OT ICE O F FO RFEITU RE

             Upon conviction ôfone orm ore ofthe felony offensesalleged itithis

lndictm ent,the defendantshallforfeitto the United States:

      a. any property constitazling,ordedved from ,any proceedsobtained,
      directly o.
                rindirectly,asatesultofsaid offenses,pursuantto 21 U .S.C.
      j653Y)(1).
      b. any property used,orintended to be used,in anym annerorpart,to
      com m it,ozto facilitatç the com m ission ofsaid offenses,putsuantto 21
      U.S.C.j853(a)(2).
      c. any ftrent'm sused orintended to be used to facilitate the
      transportaéon,sale,receipt,possession,orconcealm entofconttolled
      substancesand/ortaw materials,asdescribedit'
                                                 l21U.S.C.j881(a)(1)
      and(2),andanyproceedstraceabletosuchproperty,ptusuantto21
      U.S.C.j881(a)(11)and28U.S.C.j2461(c).
      d.any ftrent'm sand lm m lm ition itw olved orused in the com m ission of
      saidoffenses,orpossessed in violadon thereof,pursuantto 18U.S.C.j
      924$)and28U.S.C.j2461(c).

             Thepropeztyto beforfeited to theU nited Statesincludesbutisnotlim ited to

the following property:

             Cuttency

             1.$834.00in U.S.Cutrency.


             Firearm ls)and Ammunitionorotherassets
             1. G lock,m odel19,9m m ,pistol,sehalnum bez1+517565

             2. G lock m agazinesand 9m m am m uniéon;

             3.50 rounds40 cal.nm m uniéon.




   Case 4:19-cr-00002-JLK Document 1 Filed 01/17/19 Page 3 of 4 Pageid#: 11
          Ifany ofthe above-described forfeitableproperty,asaresultofany actorom ission

    ofthe defendant:

          a.     carm otbelocated upon theexezciseofdue cliligence;
          b.     hasbeen ttansferred orsold to,otdeposited with athitd person;
          c.     hasbeen placed b
                                ;e yondthejudsdicdon oftheCourt;
          d.     hasbeen substandally Jim inished itavalue;or
          e.     hasbeen com m ingled with otherproperty wllich cannotbe
                 subdivided withoutdifhculty;


    itistheintentoftheUrlited'Statesto seek fotfeitate ofany othetpzopettyofthe defendant

    uptothevalueoftheabove-describedfotfeitableproperty,putsuant.
                                                                to21U.S.C.j853($.

                                   $6
          h TRUE BILL,tllis IC          dayoflanuary,2019.


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                                                         FO REPERSO N




#r T
   Uhom T.Cullen
    nited tatesA ttorney




       Case 4:19-cr-00002-JLK Document 1 Filed 01/17/19 Page 4 of 4 Pageid#: 12
